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" UNITED STATES BANKRUPTCY COURT
®@ FOR THE DISTRICT OF DELAWARE
In re: ) Chapter 11
MES INTERNATIONAL, INC., ef al., | Case No. 09-14109 (PJW)
Debtors. Jointly Administered
| Related to Docket No. 794

 

ORDER PURSUANT TO 11 U.S.C. §§ 105(a) AND 1121(d)
FURTHER EXTENDING THE EXCLUSIVE PERIODS
DURING WHICH THE DEBTORS MAY FILE A CHAPTER 11
PLAN AND SOLICIT ACCEPTANCES THERETO
Upon the motion (the “Motion”? of the debtors and debtors in possession (collectively,
the “Debtors”) in the above-captioned chapter 11 cases, for entry of an order, pursuant to
sections 105(a) and 1121(d) of the Bankruptcy Code: (a) extending the Debtors’ Exclusive Filing
Period by 60 days, through and including August 16, 2010, and (b) extending the Debtors’
Exclusive Solicitation Period by 60 days, through and including October 15, 2010; and this Court
having jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and this matter being a “core”
proceeding under 28 U.S.C. § 157(b); and venue being proper before this Court under 28 U.S.C.
§§ 1408 and 1409; and due and proper notice of the Motion having been provided to the parties
listed therein, and it appearing that no other or further notice need be provided; and the Court
being satisfied that the relief sought in the Motion is in the best interest of the Debtors, their

creditors and all parties in interest; and the Court having determined that the legal and factual

bases set forth in the Motion establish just cause for the relief granted herein; and upon review of

 

l The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:

MES International, Inc. (1964); GSI Group Inc. (0412); and GSI Group Corporation (9358). The Debtors’
headquarters is located at 125 Middlesex Turnpike, Bedford, MA 01730.

6 2 All capitalized terms used but not otherwise defined herein shall have the meanings attributed to them in
the Motion.

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the Motion and all the proceedings had before the Court; and after due deliberation and sufficient
cause appearing therefor, it is hereby

ORDERED that, pursuant to sections 105(a) and 1121(d) of the Bankruptcy Code, the
Exclusive Filing Period for the Debtors to file a chapter 11 plan is extended through and
including August 16, 2010, and it is further

ORDERED that, pursuant to sections 105(a) and 1121(d) of the Bankruptcy Code, the
Exclusive Solicitation Period for the Debtors to solicit acceptances to a chapter 11 plan is
extended through and including October 15, 2010; and it is further

ORDERED that the extensions of the Exclusive Periods granted in this Order is without
prejudice to the Debtors’ rights to seek additional extensions from this Court under section
1121(d) of the Bankruptcy Code; and it is further

ORDERED that this Court shall retain jurisdiction to hear and determine all matters

arising from, or related to, the interpretation or implementation of this Order.

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The Honorable Peter J. Walsh
United States Bankruptcy Judge

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